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             108. Defendants TGC, Wal USA, Wal Costa Rica, Phan, Wallack and
 1

 2
     Dukascopy acquired possession of Plaintiffs’ investments in an unauthorized manner.

 3   Specifically, each of the Defendants acquired custody of Plaintiffs’ invested assets and
 4
     then facilitated the diversion of those assets to the detriment of Plaintiffs for their own
 5

 6   monetary gain.
 7
             109. TGC, Wal USA, Wal Costa Rica, Phan and Wallack acquired the actual
 8
     invested funds of Plaintiffs. In the cases of Wal Costa Rica, CTN, Metatrader and
 9

10   Dukascopy, they likely received ill-gotten trading commissions, rebates, referral fees
11
     derived from Plaintiffs funds.
12

13           110. By virtue of these transfers, the aforementioned Defendants have withheld
14
     ownership of these assets from their rightful owners. Accordingly, the aforementioned
15
     Defendants are liable for these conversions and are individually liable jointly and
16

17   severally to Plaintiffs. By virtue of their approval of the business conduct of TGC and
18
     Wal Costa Rica, the directors of each of these entities aided and abetted the
19

20
     conversions that injured Plaintiffs.

21           111. My Forex Planet and Zenoost, used by Phan and Wallack to fund
22
     investments in TGC for several of the Plaintiffs through bank accounts and merchant
23

24   accounts, and for the facilitation of the honoring redemption requests, aided and
25
     abetted the conversions that have injured Plaintiffs.
26

27
                                        VERIFIED COMPLAINT
28
                                                 41
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             112. CTN (acting directly or indirectly through Moskowitz) and Metatrader,
 1

 2
     through the facilitation of false and/or fictitious trading reports and account statements,

 3   aided and abetted the conversions that injured Plaintiffs. The concealment of
 4
     conversions by CTN and Metatrader prevented Plaintiffs from taking corrective action
 5

 6   to prevent the conversion of their funds entrusted to Wal Costa Rica, Apex, My Forex
 7
     Planet, TGC, Dukascopy and others.
 8
             113. Dukascopy knew or should have known that the trading and transfers of
 9

10   funds out of Wal Costa Rica to others who were not reputable investment managers
11
     were not intended for legitimate trading activities. Through the facilitation of trading
12

13   for TGC, Apex and Wal Costa Rica, aided and abetted the conversions that injured
14
     Plaintiffs. Dukascopy thus aided and abetted the conversions that injured Plaintiffs.
15

16

17               PRIMARY VIOLATIONS OF COMMODITIES EXCHANGE ACT
                       (against TGC, Wal USA, Wal Costa Rica, Apex,
18
                            My Forex Planet, Phan and Wallack)
19

20           114. Paragraphs 1 through 113 are repeated as if stated in their entirety.
21
             115. The Commodities Exchange Act (“CEA”), 7 U.S.C. §6b, provides for
22

23   private causes of action for schemes and artifices to defraud public customers through
24
     the statements and/or omissions of material fact, including those matters involving
25
     currency trading.
26

27
                                        VERIFIED COMPLAINT
28
                                                 42
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             116. The conduct of TGC, its traders and its principals from October 2009 to
 1

 2
     the present in, inter alia, its (a) mismanagement of funds of the TGC Plaintiffs in

 3   direct contravention of their investment objectives and financial situation, (b)
 4
     misappropriation or conversion of Plaintiffs’ funds, (c) false and misleading
 5

 6   representations to Plaintiffs and other investors that its trading programs would
 7
     generate profits when it was known it would not and (d) numerous misrepresentations
 8
     from its agents (including Phan, Baker and Alcaraz) and TGC directly concerning the
 9

10   safety of the custody of funds from its offices shared with Defendant Coldwell were
11
     made for the purpose of concealing the true fraudulent intent of TGC to abscond with
12

13   those funds and lure them into inaction to protect their invested funds, based on false
14
     and misleading statements.
15
             117. TGC and its traders were engaged in schemes and artifices to defraud
16

17   Plaintiffs. The conduct of TGC and its traders is so blatant that scienter on the part of
18
     TGC and its traders may be inferred as a matter of law. As such, TGC is liable to
19

20
     Plaintiffs under CEA Section 6b.

21           118. The conduct of Apex and its principals, officer and directors from
22
     December 2010 to the present in, inter alia, its (a) mismanagement of Plaintiffs’ funds
23

24   in direct contravention of their investment objectives and financial situation, (b)
25
     misappropriation or conversion of Plaintiffs’ funds, (c) false and misleading
26

27
     representations to Plaintiffs and other investors that its trading programs would
                                        VERIFIED COMPLAINT
28
                                                43
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     generate profits when it was known it would not, (d) its false and misleading
 1

 2
     representations concerning a purported “merger” and (e) numerous misrepresentations

 3   from its agents concerning the safety of the custody of Plaintiffs’ funds were made for
 4
     the purpose of concealing the true fraudulent intent of Apex to abscond with those
 5

 6   funds to lull its customers into inaction to protect their invested funds, based on false
 7
     and misleading statements.
 8
             119. Apex was engaged in schemes and artifices to defraud Plaintiffs. The
 9

10   conduct of Apex and its officers and directors is so blatant that scienter on the part of
11
     Apex may be inferred as a matter of law. As such, Apex is also liable to Plaintiffs
12

13   under CEA Section 6b.
14
             120. The conduct of My Forex Planet, Wal USA and Wal Costa Rica and its
15
     principals from October 2009 to the present in, inter alia, their individual or collective
16

17   (a) mismanagement of Plaintiffs’ funds in direct contravention of their investment
18
     objectives and financial situation, including fictitious trading, (b) failure to supervise
19

20
     the trading activities of TGC and Apex, (c) failure to take affirmative steps to prevent

21   the misappropriation or conversion of Plaintiffs’ funds and failure to warn of such
22
     misappropriations, commingling or conversion, (c) generation and dissemination of
23

24   false and misleading trading statements, (d) misrepresentations to the TGC Plaintiffs
25
     and other investors that trading programs for which they would introduce trades (such
26

27
     as TGC and Apex) would generate profits when it was known they would not and/or
                                       VERIFIED COMPLAINT
28
                                                44
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     (e) numerous misrepresentations from its agents (including, but not limited to, Phan
 1

 2
     and Baker) concerning the safety of the custody of funds from its offices in California

 3   and Switzerland were made for the purpose of concealing the true fraudulent intent of
 4
     TGC and Apex to abscond with the TGC Plaintiffs’ funds and lure them into inaction,
 5

 6   based on false and misleading statements and wrongful, fraudulent conduct.
 7
             121. My Forex Planet, Wal USA and Wal Costa Rica were also engaged in
 8
     schemes and artifices to defraud Plaintiffs as these misrepresentations, statements and
 9

10   omissions were disseminated for the sole intent of defrauding Plaintiffs and to assist in
11
     the absconding of their money by TGC and Apex, including but not limited to the
12

13   commingling of funds of TGC and Wal Costa Rica. My Forex Planet, Wal USA and
14
     Wal Costa Rica acted with scienter with respect to Plaintiffs as there is no plausible
15
     explanation other than fraud to justify their conduct. As such, Wal USA and Wal
16

17   Costa Rica are both liable to Plaintiffs under CEA Section 6b.
18
             122. The conduct of Phan and Wallack from October 2009 to the present in,
19

20
     inter alia, their (a) mismanagement of Plaintiffs’ funds in direct contravention of their

21   investment objectives and financial situation, including fictitious trading, (b)
22
     misappropriation, commingling      or conversion of Plaintiffs’ funds, (c) false and
23

24   misleading representations that trading programs (such as Apex and TGC) for which
25
     Wal USA and Wal Costa Rica introduced trades would generate profits when it was
26

27
     known they would not and/or (d) numerous misrepresentations concerning the safety
                                       VERIFIED COMPLAINT
28
                                                45
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     of the custody of funds committed to TGC, My Forex Planet and Wal Costa Rica from
 1

 2
     California and elsewhere were made for the purpose of concealing the true fraudulent

 3   intent of Wal Costa Rica, My Forex Planet, TGC and Apex to abscond with Plaintiffs’
 4
     funds and lure them into inaction to protect their invested funds, all based on false and
 5

 6   misleading statements and all the while generating commissions, margin interest and
 7
     other revenue from the fraudulent and improper trading activities undertaken by Wal
 8
     Costa Rica, My Forex Planet, TGC and Apex.
 9

10           123. Phan and Wallack were engaged in schemes and artifices to defraud
11
     Plaintiffs as their misrepresentations, statements and omissions were disseminated for
12

13   the sole intent of defrauding Plaintiffs and to assist in the generation of ill-gotten
14
     profits from fraudulent trading activities and the absconding of their money by Wal
15
     Costa Rica, My Forex Planet, TGC and Apex. Phan and Wallack acted with scienter
16

17   with respect to Plaintiffs as there is no plausible explanation other than fraud to justify
18
     their conduct. As such, Phan and Wallack are both liable to Plaintiffs under CEA
19

20
     Section 6b.

21

22     AIDING/ABETTING VIOLATIONS OF COMMODITIES EXCHANGE ACT
23
                 (against CTN, Moskowitz, Dukascopy, Metatrader and Coldwell)
24

25           124. Paragraphs 1 through 123 are repeated as if stated in their entirety.
26

27
                                        VERIFIED COMPLAINT
28
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              125. Section 22(a)(1) of the CEA creates liability for "[a]ny person . . . who
 1

 2
     willfully aids, abets, counsels, induces, or procures the commission of a violation of

 3   this chapter. . . ."   Plaintiffs may maintain a cause of action against each of CTN,
 4
     Moskowitz, Dukascopy and Metatrader for violations of CEA Section 22(a)(1). In
 5

 6   addition, Section 25(a) of the CEA provides that "[a]ny person . . . who violates this
 7
     chapter or who willfully aids, abets, counsels, induces, or procures the commission of a
 8
     violation of this chapter shall be liable for actual damages."
 9

10            126. CTN acting through Moskowitz aided and abetted Phan, Wallack, Wal
11
     Costa Rica. Wal USA and TGC in their respective commissions of conduct in violation
12

13   of the CEA through, inter alia, (a) providing the means and apparatus through which
14
     the fraudulent conduct of TGC and Wal Costa Rica could be consummated, (b) failing
15
     to conduct any due diligence of any meaningful sort of the business character and
16

17   repute of TGC, Wal Costa Rica, Wal USA, My Forex Planet, Phan or Wallack and (c)
18
     failing to warn Plaintiffs and others investors who funds were entrusted to TGC, Wal
19

20
     Costa Rica or Wal USA that their funds were being mismanaged or misappropriated.

21   As such, CTN and Moskowitz are liable to Plaintiffs under CEA Section 22(a)(1) and
22
     25(a).
23

24            127. Metatrader aided and abetted Phan, Wallack, Wal Costa Rica. Wal USA,
25
     My Forex Planet, TGC and Apex in their respective commissions of conduct in
26

27
     violation of the CEA through, inter alia, (a) providing the means and apparatus
                                        VERIFIED COMPLAINT
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     through which the fraudulent conduct of TGC, Apex, My Forex Planet and Wal Costa
 1

 2
     Rica could be consummated, (b) failing to conduct any due diligence of any

 3   meaningful sort of the business character and repute of TGC, Wal Costa Rica, Wal
 4
     USA, My Forex Planet, Apex, Phan or Wallack and (c) failing to warn Plaintiffs and
 5

 6   others investors who funds were entrusted to TGC, Apex, My Forex Planet, Wal Costa
 7
     Rica or Wal USA that their funds were being mismanaged or misappropriated. As
 8
     such, Metatrader is liable to Plaintiffs under CEA Section 22(a)(1) and 25(a).
 9

10           128. Dukascopy aided and abetted aided and abetted Phan, Wallack, Wal Costa
11
     Rica. Wal USA, Apex, My Forex Planet and TGC in their respective commissions of
12

13   wrongful conduct in violation of the CEA through, inter alia, (a) providing the means
14
     and apparatus through which the fraudulent conduct of TGC, My Forex Planet and
15
     Wal Costa Rica could be consummated, (b) failing to conduct any due diligence of any
16

17   meaningful sort of the business character and repute of TGC, Apex, Wal Costa Rica,
18
     Wal USA, My Forex Planet, Phan or Wallack, (c) failing to warn Plaintiffs and others
19

20
     investors who funds were entrusted to TGC, My Forex Planet, Wal Costa Rica or Wal

21   USA that their funds were being mismanaged or misappropriated and (d) continuing to
22
     conduct business with Wal Costa Rica and Apex after Wal Costa Rica was
23

24   “blacklisted” by Swiss financial regulators. As such, Dukascopy is liable to Plaintiffs
25
     under CEA Section 22(a)(1) and 25(a).
26

27
                                       VERIFIED COMPLAINT
28
                                                48
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             129. Coldwell aided and abetted Phan, Wallack, Wal Costa Rica, Wal USA,
 1

 2
     Apex, My Forex Planet and TGC in their respective commissions of conduct in

 3   violation of the CEA through, inter alia, (a) housing the alleged headquarters of TGC
 4
     in its London office and facilitating violations of the CEA were occurring (b) arranging
 5

 6   for the formation of Wal Costa Rica when it knew or should have known that it was
 7
     formed for the purpose of defrauding students enrolled with My Forex Planet and other
 8
     investors of their funds and (c) failing to conduct any due diligence of any meaningful
 9

10   sort of the business character and repute of Phan or Wallack. As such, Coldwell is
11
     liable to Plaintiffs under CEA Section 22(a)(1) and 25(a).
12

13

14    RESPONDEAT SUPERIOR VIOLATIONS OF COMMODITIES EXCHANGE
15
                                ACT

16          (against Hernandez, Vallarino, Casares and Vilchez and Apex Officers)
17

18               130. Paragraphs 1 through 129 are repeated as if stated in their entirety.
19
                 131. Section 2(a)(1)(b) of the CEA also creates liability for an individual or
20

21   corporate entity for "[t]he act, omission, or failure of any official, agent, or other
22   person acting for any individual, association, partnership, corporation, or trust within
23
     the scope of his employment or office. . . ."             Courts have described subsection
24

25   2(a)(1)(B) of the CEA as codifying the common law doctrine of respondeat superior.
26

27
                                            VERIFIED COMPLAINT
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                                                     49
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             132. Casares and Vilchez were and are officials and agents of Wal Costa Rica.
 1

 2
     Further, Casares and Vilchez, in their capacity of officials and agents of Wal Costa

 3   Rica, granted Defendant Wallack a full power of attorney over the affairs of Wal Costa
 4
     Rica.
 5

 6           133. Casares and Vilchez failed to conduct any due diligence into the business
 7
     character and repute of Wallack in their grant of a full power of attorney to him over
 8
     the business affairs of Wal Costa Rica. Further, Casares and Vilchez in their capacity
 9

10   as officials and agents of Wal Costa Rica failed to take any affirmative steps to
11
     monitor, supervise or surveil any of the business activities of Wal Costa Rica, which as
12

13   described herein were violative of the CEA.
14
             134. Hernandez, Vallarino and Fairfield Law Firm were and are officials and
15
     agents of TGC. They failed to conduct any due diligence into the business character
16

17   and repute of the principals of TGC although they had a basic duty to do so. Further,
18
     Fairfield Law Firm, Hernandez and Vallarino in their capacity as officials and agents
19

20
     of TGC failed to take any affirmative steps to monitor, supervise or surveil any of the

21   business activities of TGC, which as described herein were violative of the CEA.
22
             135. Officers/directors of Apex failed to conduct any due diligence into the
23

24   business character and repute of the principals of Wal Costa Rica although they had a
25
     basic duty to do so. They failed to take any affirmative steps to monitor, supervise or
26

27
                                       VERIFIED COMPLAINT
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     surveil any of the business activities of TGC, which as described herein were violative
 1

 2
     of the CEA.

 3           136. Accordingly, each of the aforementioned officials and agents of Wal
 4
     Costa Rica and TGC, respectively, are liable for their acts and omissions under Section
 5

 6   2(a)(1)(b) of the CEA, all of which are a direct cause of Plaintiffs’ damages.
 7
         VIII. VIOLATIONS OF THE RACKETEER INFLUENCED & CORRUPT
 8             ORGANIZATIONS ACT, 18 U.S.C. § 1961, ET SEQ. (“RICO”)
 9

10
             137. Paragraphs 1 through 136 are repeated as if stated in their entirety.
11

12
             138. Defendants Phan, Wallack, Casares, Vilchez, Hernandez, Vallarino and

13   Fairfield Law Firm and the Doe Defendants were and remain associated, either directly
14
     or indirectly, with Wal USA, Wal Costa Rica, Apex, My Forex Planet and TGC.
15

16   Under the authority granted by Casares and Vilchez, Wallack had authority to act for
17
     and did act on behalf of Wal Costa Rica in dealings with other parties. In turn,
18

19
     Wallack delegated that authority to Phan.

20           139. Under the direction of Phan and Wallack, the assets of Wal Costa Rica,
21
     Wal USA, Apex, My Forex Planet and TGC were diverted and misappropriated in
22

23   order, directly and indirectly, to enrich Phan, Wallack and others.
24
             140. The scheme, orchestrated by Phan and Wallack from California, New
25
     York and/or London, Switzerland, Costa Rica and Panama involved the diversion and
26

27
                                        VERIFIED COMPLAINT
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     use of investors’ assets to line their own pockets with those funds, as well as to
 1

 2
     generate commission and trading revenue from what was known to be improper and

 3   fraudulent trading activities undertaken by TGC through Wal USA, Wal Costa Rica,
 4
     My Forex Planet and later Apex.
 5

 6           141. To facilitate the transfer, use, and/or investment of these illicitly obtained
 7
     assets, including their transfer to and among bank accounts in California, Hong Kong
 8
     and possibly Turkey and/or Cyprus, Phan and Wallack (1) documented fictitious and
 9

10   simulated business transactions; (2) concealed financial information and personal
11
     conflicts of interest and self-dealings they had a fiduciary and contractual obligation to
12

13   disclose to investors; and (3) misrepresented the nature of safety of the assets of
14
     investors to conceal fraudulent and/or fictitious currency trading activities,
15
     commingling or outright misappropriation.
16

17           142. The intended and actual result of the foregoing transactions and activities
18
     was to plunder TGC, Apex, Wal USA, My Forex Planet and Wal Costa Rica by
19

20
     diverting investors’ funds for their ultimate personal benefit.

21           143. The companies and accounts owned and/or controlled by Phan and
22
     Wallack that received the diverted funds never intended to and did not provide
23

24   reasonably equivalent or any value for the funds they received and never intended to
25
     and did not otherwise compensate, repay, or repatriate the diverted funds. To the
26

27
                                         VERIFIED COMPLAINT
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     contrary, each such event, each transaction and act was succeeded by another like act,
 1

 2
     event, or transaction, and the scheme did not end until December 2011 at the latest.

 3           144. Absent this fraudulent scheme orchestrated and perpetuated by Phan and
 4
     Wallack, Plaintiffs’ funds would not have been diverted and misappropriated.
 5

 6           145. By engaging in the foregoing scheme involving fraudulent transactions
 7
     and communications undertaken to conceal, perpetrate, and perpetuate their scheme,
 8
     Phan and Wallack intentionally participated in a scheme, using the mails and wires, to
 9

10   defraud Plaintiffs and other investors in TGC, Apex, Wal USA, My Forex Planet and
11
     Wal Costa Rica of money by means of material misrepresentations and omissions by
12

13   Phan and Wallack. Plaintiffs suffered injury as a result of the fraud in the amount of
14
     the moneys that Phan and Wallack fraudulently procured from them.
15
             146. Through the foregoing conduct, Phan and Wallack, having devised and
16

17   intended to devise a scheme and artifice to defraud, and for obtaining money and
18
     property by false and deceptive means and pretenses, representations, and promises,
19

20
     transmitted and caused to be transmitted false and misleading communications through

21   the mails and by wire communications in interstate commerce for the purpose of
22
     executing a such and artifice to defraud, in violation of 18 U.S.C. §§ 1341 & 1343.
23

24           147. The foregoing scheme and each act committed in furtherance thereof
25
     violates the National Stolen Property Act, 18 U.S.C. § 2314 et seq., in that Phan,
26

27
     Wallack and companies under their control, including but not limited to My Forex
                                       VERIFIED COMPLAINT
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                                                53
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     Planet and Zenoost, (1) transported, transmitted, and/or transferred in interstate
 1

 2
     commerce money and property of a value of $5,000 or more knowing the same to have

 3   been stolen, converted, and taken by fraud; and (2) received and disposed of money
 4
     and property of a value of $5,000 or more that had crossed state lines despite knowing
 5

 6   the money and property had been stolen, unlawfully converted, and taken.
 7

 8                               Violations of 18 U.S.C. § 1962(c)

 9

10           148. Paragraphs 1 through 147 are repeated as if stated in their entirety.
11           149. At all relevant times, Plaintiffs were “persons” for purposes of 18 U.S.C.
12
     §§ 1961(3) and 1964(c).
13

14           150. At all relevant times, each of the Defendants was a “person” under 18
15
     U.S.C. 1961(3) and 1962(c).
16

17
             151. Through the conduct described in this Complaint, Phan and Wallack,

18   alone and/or in concert with TGC and its officers, Wal USA, Wal Costa Rica, My
19
     Forex Planet and its officers, and Apex and its officers/directors and others, conducted
20

21   and/or participated in the conduct of the affairs of various business enterprises, directly
22
     or indirectly, through illicit activities constituting a pattern of racketeering activity, all
23

24
     in violation of 18 U.S.C. § 1962(c).

25           152. Defendants Phan and Wallack were and are associated with an enterprise
26
     compromised of TGC, Wal USA, Wal Costa Rica, Apex, Zenoost, My Forex Planet,
27
                                         VERIFIED COMPLAINT
28
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     CTN, Metatrader, Dukascopy, Coldwell and the Doe Defendants (hereinafter, the
 1

 2
     “TGC Enterprise”) and participated, directly or indirectly, in the conduct of the TGC

 3   Enterprise’s affairs through a pattern of racketeering activities encompassing conduct
 4
     in violation of 18 U.S.C. § 2314 (National Stolen Property Act); 18 U.S.C. § 1341
 5

 6   (mail fraud); and 18 U.S.C. § 1343 (wire fraud); 18 U.S.C. §1956 (the federal money
 7
     laundering statute); and 18 U.S.C. § 1957 (the monetary transactions in criminally
 8
     derived property statute).
 9

10           153. Phan and Wallack caused My Forex Planet, Wal USA and Zenoost to
11
     transfer hundreds of thousands of dollars, in some instances through credit card
12

13   merchant accounts, to Wal Costa Rica and Apex for trading by TGC through
14
     Dukascopy, CTN and Metatrader.
15
             154. These expenditures directly benefited Phan, Wallack, Wal USA, Wal
16

17   Costa Rica, Apex, My Forex Planet, TGC, and also benefited CTN, Moskowitz,
18
     Metatrader and Dukascopy through commissions, fees, margin interest and other
19

20
     revenue, at the direct expense and to the prejudice of Plaintiffs and were intended to

21   conceal the true nature and purpose of the transfers of funds designated for currency
22
     trading. The mischaracterizations of these diverted payments were deceptive and
23

24   intended to conceal the true nature of the transactions.
25
             155. The foregoing conduct constitutes a pattern of racketeering activity.
26

27
     Plaintiffs have been directly financially harmed in their business and property as a
                                        VERIFIED COMPLAINT
28
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     direct and proximate result of such racketeering activity and are entitled to recover
 1

 2
     treble damages and attorneys’ fees under 18 U.S.C. § 1964(c).

 3                               Violation of 18 U.S.C. § 1962(b)
 4
             156. Paragraphs 1 through 155 are repeated as if stated in their entirety.
 5

 6           157. At all relevant times, each of the Plaintiffs are “persons” for purposes of
 7
     18 U.S.C. §§ 1961(3) and 1964(c).
 8
             158. At all relevant times, each of the Defendants was a “person” for purposes
 9

10   of 18 U.S.C. §§ 1961(3) and 1962(b).
11
             159. The TGC Enterprise constitutes an “enterprise” within the meaning of 18
12

13   U.S.C. §§ 1961(4) and 1962(b), which was engaged in activities that affect and/or
14
     impact interstate commerce.
15
             160. Through the conduct described in this Complaint, TGC, Wal USA, Wal
16

17   Costa Rica, Apex, Phan and Wallack controlled the TGC Enterprise in violation of 18
18
     U.S.C. 1962(b).
19

20
             161. The conduct described in this Complaint through which control over the

21   TGC Enterprise constituted a pattern of racketeering activity encompassing violations
22
     of 18 U.S.C. § 2314 (National Stolen Property Act); 18 U.S.C. § 1341 (mail fraud); 18
23

24   U.S.C. 1343 (wire fraud); 18 U.S.C. 1956 (federal money laundering statute); and 18
25
     U.S.C. § 1957 (the monetary transactions in criminally derived property statute).
26

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             162. As a direct and proximate result of the foregoing activities, prohibited
 1

 2
     under 18 U.S.C. § 1962(b), Plaintiffs have suffered substantial injury to their business

 3   and property. Plaintiffs have been directly financially harmed in their business and
 4
     property and are entitled to recover treble damages and attorneys’ fees under 18 U.S.C.
 5

 6   § 1964(c).
 7

 8
                                 Violation of 18 U.S.C. § 1962(a)
 9
             163. Paragraphs 1 through 163 are repeated as if stated in their entirety.
10

11           164. At all relevant times, each of the plaintiffs were “persons” under 18
12
     U.S.C. §§ 1961(3) and 1964(c).
13

14           165. At all relevant times, each of the defendants was a “person” under 18
15
     U.S.C. §§ 1961(3) and 1962(a).
16
             166. At all relevant times, the TGC Enterprise was an “enterprise” within the
17

18   meaning of 18 U.S.C. §§ 1961(4) and 1962(a), which was engaged in activities that
19
     affect and/or impact interstate commerce.
20

21           167. As described above, Defendants Phan, Wallack, Wal USA, Wal Costa
22   Rica, My Forex Planet, TGC and Apex wrongfully converted Plaintiffs’ funds and
23
     those of others through fraudulent acts.
24

25           168. In order to perpetuate and conceal their schemes, Defendants Phan,
26
     Wallack, Wal USA, Wal Costa Rica, TGC, My Forex Planet and Apex caused income
27
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     they received through the transactions handled by CTN, Metatrader and Dukascopy
 1

 2
     described in this Complaint, which transactions constitute a pattern of racketeering

 3   activity, to be used in the operation of the TGC Enterprise in violation of 18 U.S.C. §
 4
     1961(a).
 5

 6           169. The transactions described in the Complaint constitute a pattern of
 7
     racketeering activity, encompassing multiple violations of 18 U.S.C. § 2314 (National
 8
     Stolen Property Act); 18 U.S.C. § 1341 (mail fraud); 18 U.S.C. § 1343 (wire fraud); 18
 9

10   U.S.C. § 1956 (federal money laundering statute); and 18 U.S.C. § 1957 (the monetary
11
     transactions in criminally derived property statute).
12

13           170. Plaintiffs have been substantially injured their business and property as a
14
     direct and proximate result of the foregoing violations of 18 U.S.C. § 1962(a).
15
     Plaintiffs have been directly financially harmed in their business and property and are
16

17   entitled to recover treble damages and attorneys’ fees under 18 U.S.C. § 1964(c).
18

19
             Violation of 18 U.S.C. § 1962(d): Conspiracy to Violate Section 1962(a)
20

21           171. Paragraphs 1 through 170 are repeated as if stated in their entirety.
22           172. At all relevant times, each of the Plaintiffs were “persons” under 18
23
     U.S.C. §§ 1961(3) and 1964(c).
24

25           173. At all relevant times, each of the Defendants was a “person” under 18
26
     U.S.C. §§ 1961(3), 1962(a) and 1962(d).
27
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             174. At all relevant times, the TGC Enterprise was an “enterprise” within the
 1

 2
     meaning of 18 U.S.C. §§ 1961(4) and 1962(a) and was engaged in activities that affect

 3   interstate commerce.
 4
             175. As described previously in this Complaint, Defendants Phan, Wallack,
 5

 6   Wal USA, Wal Costa Rica, My Forex Planet, TGC and Apex caused Plaintiffs’ assets
 7
     and property of others to be circulated to and wrongfully converted or commingled for
 8
     their own ultimate benefit and gain.
 9

10           176. The transactions described in the Complaint violated 18 U.S.C. § 2314
11
     (National Stolen Property Act); 18 U.S.C. § 1341 (mail fraud); and 18 U.S.C. § 1343
12

13   (wire fraud); 18 U.S.C. §1956 (the federal money laundering statute); and 18 U.S.C. §
14
     1957 (the monetary transactions in criminally derived property statute).
15
             177. The transactions described in this Complaint constitute a pattern of
16

17   racketeering activity.
18
             178. Defendants Phan, Wallack, Wal USA, Wal Costa Rica, My Forex Planet,
19

20
     TGC and Apex and other wrongdoers conspired, confederated, and agreed with one

21   another to violate 18 U.S.C. § 1962(a) in violation of 18 U.S.C. § 1962(d) through the
22
     conduct set forth hereinabove.
23

24           179. Specifically, Defendants Phan, Wallack, Wal USA, Wal Costa Rica, My
25
     Forex Planet, TGC and Apex conspired, confederated and agreed with one another to
26

27
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     convert or aid in the conversion of proceeds obtained from the transactions described
 1

 2
     in this Complaint, which constitute a pattern of racketeering activity.

 3           180. Plaintiffs have been injured their business and property as a direct and
 4
     proximate result of the forgoing violations of 18 U.S.C. §§ 1962(a) and 1962(d).
 5

 6   Plaintiffs have been directly financially harmed in their business and property and are
 7
     entitled to recover treble damages and attorneys’ fees under 18 U.S.C. § 1964(c).
 8
                 Violation of 18 U.S.C. § 1962(d): Conspiracy to Violate 18 U.S.C. 1962(b)
 9

10           181. Paragraphs 1 through 180 are repeated as if stated in their entirety.
11
             182. At all relevant times, each of the Plaintiffs were “persons” under 18
12
     U.S.C. §§ 1961(3) and 1964(c).
13

14           183. At all relevant times, each of the Defendants was a “person” under 18
15
     U.S.C. §§ 1961(3), 1962(a) and 1962(d).
16

17           184. At all relevant times, the TGC Enterprise was an “enterprise” within the
18   meaning of 18 U.S.C. §§ 1961(4) and 1962(b), which was engaged in activities that
19
     affect and/or impact interstate commerce.
20

21           185. The transactions described in this Complaint violated 18 U.S.C. § 2314
22
     (National Stolen Property Act); 18 U.S.C. § 1341 (mail fraud); and 18 U.S.C. § 1343
23

24
     (wire fraud); 18 U.S.C. §1956 (the federal money laundering statute); and 18 U.S.C. §

25   1957 (the monetary transactions in criminally derived property statute).
26

27
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             186. The transactions described in this Complaint constitute a pattern of
 1

 2
     racketeering activity.

 3           187. Defendants and other wrongdoers conspired, confederated, and agreed
 4
     with one another to violate 18 U.S.C. § 1962(b) in violation of 18 U.S.C. § 1962(d)
 5

 6   through the illicit activities and conduct set forth hereinabove.
 7
             188. Specifically, Phan, Wallack and other wrongdoers conspired to acquire
 8
     the funds of Plaintiffs and other investors through a pattern of racketeering activities.
 9

10           189. Plaintiffs have been injured in their business and property as a direct and
11
     proximate result of the foregoing violations of 18 U.S.C. §§ 1962(b) and 1962(d).
12

13   Plaintiffs have been directly financially harmed in their business and property and are
14
     entitled to recover treble damages and attorneys’ fees under 18 U.S.C. § 1964(c).
15

16               Violation of 18 U.S.C. § 1962(d): Conspiracy to Violate 18 U.S.C. § 1962(c)
17

18           190. Paragraphs 1 through 190 are repeated as if stated in their entirety.
19
             191. At all times material to this action, all Plaintiffs constituted “persons”
20

21   with standing to sue pursuant to 18 U.S.C. §§ 1961(3) and 1964(c).
22
             192. At all times material to this action, Defendants are and were “persons”
23

24
     within the meaning of 18 U.S.C. §§ 1961(3) and 1962(d).

25           193. At all times material to this action, Defendants conspired with each other
26
     and unnamed co-conspirators for purposes of violating 18 U.S.C. § 1962(c).
27
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             194. As a proximate cause of the violation of 18 U.S.C. § 1962(d) by
 1

 2
     Defendants, by conspiring to violate 18 U.S.C. § 1962(c) and these Defendants’ overt

 3   racketeering acts, Plaintiffs have been directly financially harmed in their business and
 4
     property and are entitled to recover treble damages and attorneys’ fees under 18 U.S.C.
 5

 6   § 1964(c).
 7

 8
                                  IX. UNJUST ENRICHMENT
 9

10
                   (against Phan, Wallack, Wal USA, Wal Costa Rica, TGC,

11                          Apex, CTN, Metatrader and Dukascopy)
12

13
             195. Paragraphs 1 through 194 are repeated as if stated in their entirety.
14

15
             196. Plaintiffs’ investments in TGC, Wal USA, Wal Costa Rica, My Forex

16   Planet and Apex represent a primary sole of their revenue and capital.               CTN,
17
     Metatrader and Dukascopy each earned revenue in the form of service fees,
18

19   commissions and other funds for their provision of services to TGC, Wal USA, Wal
20
     Costa Rica, My Forex Planet and Apex.
21
             197. As a direct and proximate result of the acts alleged herein, the foregoing
22

23   defendants wrongfully deprived Plaintiffs of their assets and were unjustly enriched
24
     thereby. As it would be unjust under the circumstances for these defendants to benefits
25

26   from the fraudulent and wrongful activities described herein, the foregoing Defendants
27
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     are liable to Plaintiffs for such unjust enrichment and should be required to disgorge
 1

 2
     their unjust gains and return them to Plaintiffs.

 3                               REQUEST FOR MEDIATION
 4
             198. Given the complexity of this matter and number of parties involved in
 5
     various jurisdictions, Plaintiffs state their desire that the actions against all parties
 6

 7   except for (a) Wal USA, (b) Zenoost, (c) My Forex Planet, (d) Phan and (e) Wallack be
 8
     referred to mediation under the supervision of this Court as soon as is practicable.
 9

10

11                                   PRAYER FOR RELIEF
12
             WHEREFORE, PREMISES CONSIDERED, Plaintiffs pray that, upon due
13
     proceedings, relief be rendered herein in their favor as follows:
14

15           1.     Immediately appointing a receiver to take charge of the affairs and
16
     property of (a) Wal USA, (b) Zenoost, (c) My Forex Planet, (d) Phan and (e) Wallack
17

18   pending trial of this matter, an injunction prohibiting the disposition of funds from
19
     these entities and individuals, as well as an immediate accounting of Plaintiffs’ funds
20
     therein;
21

22           2.     Awarding to Plaintiffs money damages against all Defendants, jointly and
23
     severally or otherwise, for all losses, injuries, and damages suffered as a result of the
24

25   Defendants’ wrongful acts, including statutory penalties, and prejudgment interest as
26   appropriate;
27
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             3.     Awarding Plaintiffs treble damages and Plaintiffs’ attorneys’ fees and
 1

 2
     costs of suit for all losses and damages suffered by the Fund as a result of the

 3   Defendants’ violations of RICO;
 4
             4.     Awarding Plaintiffs punitive damages against each defendant jointly and
 5

 6   severally in an amount no less than $2 million.
 7
             5.     Awarding Plaintiffs’ counsel attorneys’ fees and costs of suit as
 8
     authorized by law and/or equity;
 9

10           6.     Awarding Plaintiffs interest on all amounts awarded herein from the date
11
     of judicial demand at the maximum rate permitted by law; and
12

13
             7.     Awarding Plaintiffs all other relief to which they may be permitted at law
14

15
     or in equity upon the premises hereof.

16
                                              JURY DEMAND
17

18           Plaintiffs demand a trial by jury of all claims in this action so triable.
19

20
     Dated: August 29, 2012

21

22                                                Robert H. Dewberry [fax signature]
                                                  theDewberryfirm
23

24

25
                                                  Robert V. Cornish, Jr.
26                                                DILWORTH PAXSON LLP
27
                                                  Admission pro hac vice pending
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